             Case 6:21-mj-01218-EJK Document 8 Filed 03/11/21 Page 1 of 1 PageID 32
                                       UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                      George C. Young Courthouse and Federal Building
                                                401 West Central Boulevard
                                                    Orlando, FL 32801
                                                  www.flmd.uscourts.gov
Elizabeth M. Warren                                                                              Benjamin C. Wynn
Clerk of Court                                                                            Orlando Division Manager


UNITED STATES OF AMERICA

VS.                                                               CASE NO: 6:21-mj-1218-EJK

HOWARD BERTON ADAMS


                                  NOTICE OF SURRENDERED U.S. PASSPORT

To:     U.S. Department of State
        CA/PPT/L/LA
        44132 Mercure Circle
        PO Box 1227
        Sterling, VA 20166-1227

       PURSUANT to the Court’s order entered on March 10, 2021 in the above styled case, the Defendant’s
passport, Number 048707897 was surrendered to the custody of the Clerk of Court on March 11, 2021. The
defendant is not permitted to apply for the issuance of another passport during the pendency of this action.

                          Defendant’s date of birth:         November 21, 1960

                          Defendant’s place of birth:        Georgia, USA

                          Passport issued to:                Howard Berton Adams JR

                          Date of issuance:                  August 2, 2006


                                                                 ELIZABETH M. WARREN, CLERK

                                                                 By Tiffany Palmer
                                                                 Tiffany Palmer, Deputy Clerk
March 11, 2021

Original to Case File
c:       Counsel and Unrepresented Defendant
         Pretrial Services (if before Judgment)
         Probation Office (if after Judgment)
         Appropriate Agency Listed Above
         Passport Coordinator
